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                     EXHIBIT C
          Case 1:15-cv-07433-LAP Document 1330-21 Filed 01/05/24 Page 2 of 11




From:                            gmaxl@ellmax.com
Sent:                            Saturday, January 10, 2015 9:00 AM
To:                              Philip Barden; Ross Gow




I am out of my depth to understanding defamation and other legal hazards and don't want to end up in a law
suit aimed at me from anyone if I can help it. Apparently even saying Virginia is a lier has hazard! I have never
been in a suit criminal or civil and want it to stay that way.
The US lawyers for the Jane Does are filling additional discovery motions and if I speak I open my self to being
part of discovery apparently. I am trying to stay out of litigation and not have to employ lawyers for years as I
get lost in US legal nightmare. I stand no legal risk currently on these old charges and civil suits against Jeffrey
We need to consult with US lawyers on any statement I make and the complaints too
Perhaps we make a statement of the legal risk of saying anything for potential defamation or something that
prevents a full and frank detailed rebuttal+ the press not being the place for that? Regardless, Philip plse call
jeffrey lawyer and see what you can under.stand from him and pehaps craft something in conjunction with
him? Either way I think you need to speak to him to understand my risk so you can help me understand it - too
may cooks in the kitchen and I can't make good decisions. Plse reach out to him today
+ I have already suffered such a terrible and painful loss over the last few days that I can't even see what life
after press he'll even looks like - statements that don't address all just lead to more questions .. what is my
relationship to clinton ? Andrew on and on.
Let's rest till monday. I need head space




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From: Philip Barden
Date: Friday, January 9, 2015 at 17:05 PM
To: Ross Gow
Cc: gmax
Subject: Re: The Times - Ghislaine Maxwell

Agreed

We agreed to release a statement

We should support our friends and deny the allegations as Dershowitz urges and Prince Andrew has.

We run the real risk of guilt by silence and that is likely to feed false claims and false suits as we saw with the
BBC

I advised the soldiers in Bloody Sunday not to give interviews so I am cautious and this is the time to speak.

I can say no more. I hope our advice is followed .

Philip

Sent from my iPhone

On 9 Jan 2015, at 21:53, "Ross Gow"

wrote:

Ghislaine
I believe the next 18hrs is the best chance we have to leverage some transparency advantage on this.
MoS first then Sunday Times. Otherwise we lose any chance of ownership of the narrative.
Please give it some serious thought...
Dershowitz is out on Monday with a big push in The Times and we run the risk of looking less than gripped.
best
R

On 9 January 2015 at 20:02, Philip Barden



I am heading home now and will call when get there

Let's not waste this moment please
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Sent from my iPhone

On 9 Jan 2015, at 18:11, "Ross Gow"




Ghislainr
further reason for us to put our side of the story out ...
best
Ross

---------- Forwarded message----------




Date : 9 January 2015 at 18:09
Subject: The Times - Ghislaine Maxwell
To: Ross Gow




Hi Ross
Do keep in touch . I think were running a piece written by Professor Dershowitz on Monday.
If Miss Maxwell wants to make a comment do let me know ...
All the best
David Brown
Reporter
The Times




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From:                             Ross Gow
Sent:                             Friday, January 09, 2015 2:54 PM
To:                               Philip Barden
Cc:                               G Max
Subject:                          Re: The Times - Ghislaine Maxwell



Ghislaine
I believe the next l 8hrs is the best chance we have to leverage some transparency advantage on this.
MoS first then Sunday Times. Otherwise we lose any chance of ownership of the narrative.
Please give it some serious thought...
Dershowitz is out on Monday with a big push in The Times and we run the risk of looking less than gripped.
best
R

On 9 January 20 I 5 at 20:02, Philip Barden                                      rote:
I am heading home now and will call when get there

Let's not waste this moment please

Sent from my iPhone

On 9 Jan 2015 , at 18:11, "Ross Gow"
wrote:

Ghislainr
further reason for us to put our side of the story out...
best
Ross

---------- Forwarded messa e ----------
From: Brown, David
Date: 9 January 2015 at 1 :0
Subject: The Times - Ghislaine Maxwell
To: Ross Gow


Hi Ross
Do keep in touch. I think were running a piece written by Professor Dershowitz on Monday.
If Miss Maxwell wants to make a comment do let me know ...
All the best
David Brown




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From:                              Ross Gow
Sent:                              Monday, September 21, 2015 2:22 PM
To:                                Gmax; Philip Barden
Subject:                           Fwd: Question from NY Daily News
Attachments:                       Maxwell.pdf


G
Here we go again. YR on our case again.
Joyous to hear I'm not a co-defendant ...
Best
R

---------- Forwarded messa
From : "Brown, Stephen"
Date: 21 Sep 2015 20:28
Subject: Question from NY Daily News
To:
Cc:

Hi Ross, I'm working on a story about a defamation suit filed by Virginia Roberts against Ghislaine Maxwell.

Virginia alleges that Ghislaine defamed her by calling her claims "obvious lies," among other denials. Those denials were
released through you. (To be clear, you're not named as a defendant.)

I'm wondering if Ghislaine has a response to the suit, which is attached.

Thank you,


Stephen Brown
Manhattan Federal Court Reporter
NY Dail News




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